
In re: Mark Huguet, et al. applying for writs of certiorari, review, mandamus and stay order. Parish of St. Tammany.
Writ granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Thomas W. Tanner, Judge of the 22nd Judicial District, Court for the Parish of St. Tammany, to transmit to the Supreme Court of Louisiana, on or before the 17th day of November, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relators herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be appointed by this Court why the relief prayed for in the petition of the relators should not be granted.
